     Case: 1:21-cv-00998 Document #: 69 Filed: 12/10/21 Page 1 of 1 PageID #:683

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Michael Cozzi, et al.
                                       Plaintiff,
v.                                                        Case No.: 1:21−cv−00998
                                                          Honorable Steven C. Seeger
Village of Melrose Park, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, December 10, 2021:


        MINUTE entry before the Honorable Steven C. Seeger: Brandon Theodore, a
third−party deponent, filed a motion for a protective order about the scope of a deposition
currently scheduled for December 15, 2021. Plaintiff's response is due by December 13,
2021. Plaintiffs must file a short explanation of the basis for asking about the sale of other
parcels of property formerly owned by Plaintiffs. Mailed notice(jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
